                             UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF IDAHO

UNITED STATES OF AMERICA,
                                                   Case No. 1:15-cr-00018-EJL
               Plaintiff,
                                                      MEMORANDUM DECISION AND
       vs.                                                    ORDER

MICHAEL ANGELO SAPP,

               Defendant.


       The Government argues that text messages (sent and received) from the Defendant’s

phone between November 7, 2014, and December 23, 2014 are admissible – regardless of the

application of Federal Rule of Evidence 404(b) – because they “are inextricably intertwined with

direct evidence of [Sapp’s] guilt.” “In an abundance of caution,” the Government argues the text

messages are admissible under Rule 404(b). Defense counsel orally indicated to the Court’s staff

attorney that there was no objection to the admission of the text messages.

       Evidence is relevant if it has any tendency to make a fact of consequence in determining

the action more or less probable than it would be without the evidence. FED. R. EVID. 401.

Generally, relevant evidence is admissible, although it may be excluded if its probative value is

substantially outweighed by a danger of unfair prejudice. See FED. R. EVID. 402, 403. Rule 406

further limits the general admissibility of relevant evidence, as it makes evidence of other crimes,

wrongs, or acts inadmissible to show propensity. Id. But, such evidence is admissible to prove

“motive, opportunity, intent, preparation, plan, knowledge, identity, absence of mistake, or lack

of accident.” Id.
       The Ninth Circuit has held that evidence should not be considered “other crimes’ or

“other act” evidence within the meaning of Rule 404(b) if “the evidence concerning the ‘other’

act and the evidence concerning the crime charged are inextricably intertwined.” U.S. v.

Soliman, 813 F.2d 277, 279 (9th Cir. 1987) (internal quotation marks, citation, and alteration

omitted). Evidence is “inextricably intertwined” with a charged crime if the evidence: (1) may

“constitute a part of the transaction that serves the basis for the criminal charge,” (2) admission

of the evidence may be “necessary . . . to permit the prosecutor to offer a coherent and

comprehensible story regarding the commission of the crime.” U.S. v. Vizcarra-Martinez, 66

F.3d 1006, 1012–13 (9th Cir. 1995).

       We agree with the Government. Sapp is charged with possession with intent to distribute

more than 50 grams of actual methamphetamine, possession of a firearm in furtherance of drug

trafficking crime, and unlawful possession of a firearm. The acts detailed in the text messages

are part of a continuing course of conduct that culminated in Sapp’s arrest on or about December

23, 2014. Alternatively, we agree with the Government that the text messages are admissible

pursuant to Rule 404(b).

       In sum, the text messages retrieved from the seized phone found in the car Sapp was

driving at the date of his arrest are admissible.



                                                      DATED: November 18, 2015


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                                                      Edward J. Lodge
                                                      United States District Judge
